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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF ILLINOIS

   GARY SPANO, et al.,

   Plaintiffs,

   v.

   THE BOEING COMPANY, et al.,

   Defendants.                                                          No. 06-0743-DRH

                               MEMORANDUM and ORDER

   HERNDON, Chief Judge:

                             I. Introduction and Background

                 Pending before the Court is Plaintiffs’ motion for class certification (Doc.

   24). Defendants oppose the motion. Based on the pleadings, applicable case law,

   the Court grants the motion.

                 Plaintiffs Gary Spano, John Bunk and James White, Jr., bring this

   action against Defendants, The Boeing Company (“Boeing”), Employee Benefits Plans

   Committee, Scott M. Buchanan and Employee Benefits Investment Committee

   pursuant to the Employee Retirement Income Security Act of 1974, 29 U.S.C. § §

   1001 - 1461 (“ERISA”), on behalf of The Boeing Company Voluntary Investment Plan

   (“the Plan”). Plaintiffs allege breach of fiduciary duty pursuant to ERISA § 409, 29

   U.S.C. § 1109, ERISA §§ 502(a)(2), (3), 29 U.S.C. § § 1132(a)(2), (3) and seek to

   remedy the Plan’s losses and to obtain injunctive and other equitable relief for the

   Plan from Defendants. Plaintiffs claim that the breaches occurred on a plan-wide

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   basis, and were the result of decisions made at the Plan, rather than the individual

   level, affecting all of the participants and beneficiaries in the Boeing-sponsored

   401(k) plan. Plaintiffs’ Second Amended Complaint contains two counts: Count I -

   breach of fiduciary duty pursuant to ERISA 502(a)(2) and Count II - other remedies

   for breach of fiduciary duty pursuant to ERISA 502(a)(3) (Doc. 186).

                On November 22, 2006, Plaintiffs moved for class certification (Doc. 24).

   Specifically, Plaintiffs seek to certify the following class:

         All persons, excluding the Defendants and/or other individuals who
         are or may be liable for the conduct described in this Complaint, who
         are or were participants or beneficiaries of the Plan and who are, were
         or may have been affected by the conduct set forth in this Complaint, as
         well as those who will become participants or beneficiaries of the Plan
         in the future.


   Defendants filed their opposition to class certification on April 9, 2007 (Doc. 61) and

   Plaintiffs filed their reply on May 3, 2007 (Doc. 68). On June 15th and 28th, 2007,

   Plaintiffs filed supplements to the class certification motion (Docs. 73 & 74,

   respectively). Thereafter, on September 28, 2007, the Court sua sponte stayed the

   proceedings with respect to the motion for class certification pending the outcome

   of an appeal of an Order granting class certification entered by District Judge

   Michael J. Reagan in similar ERISA breach of fiduciary case, Lively v. Dynegy,

   Inc., 2007 WL 685861 (S.D. Ill. March 2, 2007) (Doc. 76). On April 3, 2008, the

   Court lifted the stay regarding the class certification proceedings as the Lively case

   settled prior to the Seventh Circuit issuing a decision (Doc. 142). On April 15, 2008,



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   the Court granted Defendants leave to file a supplement to class certification and

   Defendants filed their brief on April 15, 2008 (Docs. 152 & 155, respectively). On

   April 21, 2008, the Court allowed Plaintiffs leave to file a reply to Defendants’

   supplement and Plaintiffs filed their reply on April 25, 2008 (Docs. 161 & 165,

   respectively). Subsequently, Plaintiffs filed a notice of supplemental authority in

   support of class certification on June 20, 2008 (Doc. 174).

                In the meantime, Plaintiffs filed a motion for leave to file a Second

   Amended Complaint (Doc. 150). On August 22, 2008, Magistrate Judge Wilkerson

   granted Plaintiffs’ motion for leave (Doc. 185). On August 25, 2008, Plaintiffs filed

   their Second Amended Complaint (Doc. 186) to which Defendants filed an Answer

   and a motion to dismiss or for summary judgment based on statute of limitations

   (Docs. 188 & 189, respectively).1 As the motion for class certification is ripe, the

   Court turns to address the motion.

                                             II. Facts

                Defendant Boeing offers a 401(k) plan to its employees known as The

   Boeing Voluntary Investment Plan. Participants contribute varying percentages of

   their before-tax (and in some cases, after tax) earnings to the Plan. Boeing matches

   these contributions in varying percentages. Boeing makes use of a Master Trust to

   hold the assets of the Plan.         The Plan shares the services of record-keepers,

   investment managers, consultants, and other service providers directly and/or



         1
          The Court notes that the motion to dismiss is not ripe.

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   through the Master Trust.

                ERISA sets forth the duties that an employer (or its delegates) owe to its

   401(k) plan participants. Section 403(c), 29 U.S.C. § 1103(c), requires that the

   plan’s assets be used “solely for the exclusive purposes of providing benefits to

   participants” and for “defraying reasonable expenses of administering the plan.”

   ERISA mandates that plan fiduciaries – such as the plan sponsor and administrator,

   as well as others acting in a fiduciary capacity – must discharge their fiduciary duties

   “solely in the interest of the participants and beneficiaries.” 29 U.S.C. § 1104(a)(1).

   Plan sponsors, administrators and other fiduciaries must act “within the exclusive

   purpose of providing benefits to participants and their beneficiaries and defraying

   reasonable expenses of administering the plan.” Id. They must discharge these

   duties “with care, skill, prudence, and diligence” that a “prudent man” acting in a

   similar capacity would use under similar circumstances. 29 U.S.C. § 1104(a)(1)(b).

   The fiduciaries owe these duties to all participants in 401(k) plans.

                In their Second Amended Complaint, Plaintiffs allege, inter alia, that

   Defendants breached their fiduciary duties by causing or allowing unreasonable fees

   and expenses to be charged against the assets of the Plan and by failing to ensure

   that the Plan’s assets were used solely for the exclusive purposes of providing

   benefits to participants. Plaintiffs allege that these excessive fees were imposed on

   the Plan through a combination of both “Hard Dollar” payments and hidden

   “Revenue Sharing” transfers. Plaintiffs further allege that Defendants breached their



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   core fiduciary obligations by causing the Boeing Stock Fund (“BSF”) to incur

   unnecessary fees and to hold excess cash; again impairing the value of, and return

   on, the Plan’s assets.

                The Second Amended Complaint also alleges that Defendants further

   violated their fiduciary duties by failing to disclose and/or concealing material

   information regarding Plan fees and expenses. Plaintiffs also allege that Defendants

   selected and retained mutual funds as Plan investment options until 2006- which not

   only charged excessive investment management expenses - but were also the vehicle

   Defendants used to funnel excessive Plan recordkeeping and administrative fees to

   State Street/CitiStreet via their undisclosed revenue sharing program.

                             III. Class Certification Standard

                Rule 23 of the Federal Rules of Civil Procedure sets for the prerequisites

   for a class action: (1) a proposed class must be so numerous that joinder of all

   members is impracticable (“numerosity”); (2) there must be a question of law or fact

   common to the class (“commonality”); (3) the claims or defenses of the representative

   parties must be typical of the claims or defenses of the class (“typicality”); and (4) the

   representative parties must fairly and adequately protect the interests of the class

   (“adequacy”). See Fed.R.Civ.P. 23(a). In addition to satisfying these four criteria,

   a party seeking class certification must also demonstrate that the action falls within

   one of the categories enumerated in Rule 23(b). See Fed.R.Civ.P. 23(b)(1), (b)(2),

   (b)(3).



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                A party seeking class certification bears the burden of proving that each

   of the requirements under Rule 23 have been met, and a failure by the movant to

   satisfy any one of the prerequisite elements precludes certification. See General

   Tel. Co. of S.W. v. Falcon, 457 U.S. 147, 160-61 (1982); Retired Chicago Police

   Ass’n v. City of Chicago, 7 F.3d 584, 596 (7th Cir. 1993). A court has broad

   discretion to determine whether a proposed class meets the Rule 23 certification

   requirements. Trotter v. Klincar, 748 F.2d 1177, 1184 (7th Cir. 1984). In

   making this determination, Rule 23 should be construed liberally to support its

   policy of favoring the maintenance of class actions. See King v. Kansas City S.

   Indus., Inc., 519 F.2d 20, 25-36 (7th Cir. 1975). As a general principle, a court

   is not allowed to engage in analysis of the merits to determine whether the case

   should be maintained as a class. Retired Police Ass’n, 7 F.3d at 596 (7th Cir.

   1993). However, a district court must make a preliminary review into the merits of

   the case if some of the considerations under Rule 23 overlap the merits. Szabo v.

   Bridgeport Machs., Inc., 249 F.3d 672 (7th Cir.), cert. denied, 122 S.Ct. 348

   (2001); see also Eisen v. Carlisle & Jacquelin, 417 U.S. 156, 177-78 (1974).

   Even where the elements of class certification are not in dispute, a court has a duty

   to evaluate independently the proposed class to ensure its compliance with the

   requirements of Rule 23. See Davis v. Hutchins, 321 F.3d 641, 648-49 (7th Cir.

   2003).




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                                       IV. Analysis

                Courts have implied two prerequisites to class certification that must

   be satisfied prior to addressing the requirements of Rule 23(a): (1) the class must be

   sufficiently defined so that the class is identifiable; and (2) the named representative

   must fall within the proposed class. Alliance to End Repression v. Rochford, 565

   F.2d 975, 977 (7th Cir. 1977). Proper identification of the proposed class serves

   two purposes. First, it alerts the court and the parties to the potential burdens class

   certification may entail. Simer v. Rios, 661 F.2d 655, 670 (7th Cir. 1981). In

   this way, the court can decide whether the class device simply would be an inefficient

   way of trying the lawsuit for the parties as well as for its own congested docket. Id.

   Second, proper class identification insures that those individuals actually harmed

   by defendant’s wrongful conduct will be the recipients of the awarded relief. Id.

                Here, the Court finds that the proposed class is properly defined and

   that the named representatives clearly fall within the class. Defendants argue that

   the class definition does not distinguish among Plan participants that invested in

   revenue-sharing funds and those who did not, or those who invested in the Boeing

   Stock Fund and those who did not. Further, Defendants contend that the proposed

   class improperly contains past and future participants. Lastly, Defendants argue

   that the class definition requires a determination of the merits. The Court rejects

   Defendants’ arguments.

                As to Defendants’ argument that Plaintiffs’ definition fails to distinguish



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   the class participants, the Court finds that distinction is not necessary.             As

   demonstrated below, it is the Defendants’ conduct that is at issue and not Plaintiffs’

   conduct.   Further, the Court finds that the class definition does not require a

   determination on the merits.

                With respect to future participants, the Court finds that the inclusion of

   future class members is appropriate here because Plaintiffs request an injunction

   prohibiting the continuation of current practices; and this injunctive relief, if granted,

   would affect not just present participants, but future participants as well. Further,

   as to the past participants, the Court also finds that inclusion of past class members

   is appropriate. Participants who took distributions and ended their participation in

   the Plan received less than they should have from the Plan because of Defendants’

   misconduct. Including them in the class, Plaintiffs seek to remedy this shortfall. A

   “participant” has been defined by the Supreme Court as (1) an employee in currently

   covered employment; (2) an employee reasonably expected to be in currently covered

   employment; (3) a former employee with a reasonable expectation of returning to

   current employment; or (4) a former employee with a colorable claim for vested

   benefits. Firestone Tire & Rubber Co. v. Bruch, 489 U.S. 101, 109 (1989). As

   “colorable claim” language has been broadly interpreted – including by the Seventh

   Circuit, which stated that the former employees are participants if they have a

   colorable claim that they cashed out of a plan, “at a smaller benefit than they were

   due.” Clair v. Harris Trust & Savings Bank, 190 F.3d 495, 497 (7th Cir.

   1999).

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         Numerosity

                Rule 23(a)(1) requires that the class be so “numerous that joinder of all

   the members is impracticable.” Fed.R.Civ.P. 23(a)(1). Defendants do not dispute

   that the requirement of numerosity is satisfied and, therefore, have forfeited any

   objection to Plaintiffs’ satisfaction of this requirement. See Volovsek v. Wisc. Dep’t

   of Agr., Trade & Consuer Prot., 344 F.3d 680, 689 n.6 (7th Cir. 2003)(absence

   of legal argument forfeits consideration of claim). Here, Plaintiffs do not know the

   exact number of class members. Plaintiffs maintain that Boeing’s 2004 filings with

   the Department of Labor on behalf of the Plan, disclose that there were 189,577

   participants with account balances in the Plan. This number is well beyond that

   which has been accepted as meeting the numerosity requirement. Swanson v.

   American Consumer Industries, Inc., 415 F.2d 1326, 1333 (7th Cir. 1969).

   Thus, it is clear that the requirement of numerosity is met.

         Commonality

                Under Rule 23(a)(2), “questions of law or fact common to the class”

   must exist before a class may be certified. Fed.R.Civ.P. 23(a)(2). The requirement

   is usually met when a common nucleus of operative fact unites a class. Rosario v.

   Livaditis, 963 F.2d 1013, 1018 (7th Cir. 1992), cert. denied, 506 U.S. 1051

   (1993). The presence of some factual variations among the class members does not

   defeat commonality, so long as there is at least one question of law of fact common

   to the class. Id. at 1017; Keele v. Wexler, 149 F.3d 589, 594 (7th Cir. 1998).


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   Though commonality and typicality are closely related, the tests are distinct. Retired

   Chicago Police Ass’n, 7 F.3d at 596-597.

                The Court concludes that common issues of fact and law are present

   here. Plaintiffs’ Second Amended Complaint identifies fifteen common issues of law

   or fact (Doc. 186, ¶ 26). Inter alia, Plaintiffs challenge the impudent and improper

   investment options and the reasonableness of the administrative fees paid by the

   Plan. These administrative fees are paid by Plan participants - proposed class

   members – and each participant has these issues in common. Further, Plaintiffs’

   allegations that Defendants breached one or more fiduciary duties and that the

   alleged breaches of fiduciary duty resulted in damage to the Plan are also common

   to the class. Plaintiffs seek damages and other remedies for the Plan itself. Though

   there is some factual variations among class members, the variations will not defeat

   commonality under Rule 23(a)(2), so long as there is at least one question of law or

   fact common to the class. See Rosario, 963 F.2d at 1017.

                The Court finds that Defendants’ conduct and decisions regarding the

   Plan amount to common course of conduct vis-a’-vis the putative class. Defendants

   managed and controlled the Plan’s assets and directed the Plan’s investment options.

   Plaintiffs assert that through this management and control, Defendants continued

   to invest the Plan’s assets when they knew or should have known it was imprudent

   to do so. Further, because Plaintiffs’ claims derive from actions (or inactions) of

   Defendants, Plaintiffs have demonstrated that their claims arise from a common



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   nucleus of operative facts. See Keele, 149 F.3d at 594. The Court finds that this

   case presents common questions of law and fact to satisfy Rule 23(a)(2).

                Defendants maintain that the many differences in the “factual and legal

   arguments” preclude any finding of commonality. In particular, Defendants maintain

   that Plaintiffs’ claims lack any common issue of operative facts because the Plan is

   an “individual account plan” that allows participants to select from a menu of

   different investment options and that these circumstances would require the Court

   to conduct fact-finding as to the very type of detailed fund-by-fund, participant-by-

   participant analysis the renders class-wide treatment impossible. Furthermore,

   Defendants argue that “whether fees are ‘unreasonable and excessive,’ ... would

   depend upon an analysis of the services, investment returns, risks and other factors

   that must be examined on a fund-by-fund basis.           Defendants also argue that

   Plaintiffs’ new allegations and their experts’ reports “balkanize” their claims further.

   The Court disagrees.    See Lively, 2007 WL 685861, at *8 (“[T]he appropriate

   focus in a breach of fiduciary duty claim is the conduct of the defendants, not

   the plaintiffs.”)(citations omitted).

         Typicality

                The typicality requirement of Rule 23(a)(3) is closely related to the

   commonality requirement of Rule 23(a)(2). Rosario, 963 F.2d at 1018. Rule

   23(a)(3) requires a court to determine whether the “claims or defenses of the

   representative parties are typical of the claims and defenses of the class.”



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   Fed.R.Civ.P.23(a)(3). A plaintiff’s claim is typical if it (1) arises from the same

   event, practice or course of action that gives rise to the claims of the other class

   members; and (2) the claims of the plaintiff and the class members are based on the

   same legal theory. Rosario, 963 F.2d at 1018; De La Fuente v. Stokely-Van

   Camp, Inc., 713 F.2d 225, 232 (7th Cir. 1983).               Frequently, a finding of

   commonality will also equal a finding of typicality as well. Rosario, 963 F.2d at

   1018. In deciding whether a plaintiff has met the typicality requirement, courts

   focus on the conduct of the defendant and determine whether the putative class

   representative and the members of the putative class claim similar injuries due to

   defendant’s alleged actions. See Rosario, 963 F.2d at 1018.

                The Court finds that Plaintiffs’ claims are typical of those of the putative

   class, principally because they seek relief on behalf of the Plan under section

   502(a)(2) of ERISA for alleged fiduciary violations as to the Plan. Defendants argue

   that the putative class fails to meet the typicality requirement because of variances

   in each participant’s investment decisions under the Plan and that Plaintiffs’ claims

   regarding concealment and non-disclosures require a participant-by-participant

   consideration.

                Here, Plaintiffs assert the same injury arising from the same course of

   conduct as all members of the proposed class.             Plaintiffs have alleged that

   Defendants caused or allowed excessive fees to be charged to the Plan as a whole by

   failing to disclose and/or concealing information regarding Plan fees and expenses.



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   Likewise, Plaintiffs’ claims are premised on upon the same legal theory, a breach of

   fiduciary duties, as the claims of the proposed class. Defendants raise similar

   arguments as they did for commonality in that under the Plan, each participant was

   responsible for selecting among eleven investment options with different

   management styles, investment objectives and fees and that the investment options

   and fees varied throughout the proposed class period. Defendants argue that there

   can be no class-wide answer when issues of causation and injury depend on

   individualized investment decision-making and timing of the investment selection.

   The Court disagrees. As stated in Lively, named Plaintiffs’ investment histories may

   differ from those of other class members. Lively, 2007 WL 685861, at *10.

   Furthermore, the fact that losses attributable are likely to differ from participant to

   participant, individual damages will not defeat typicality. See DeLaFuente, 713

   F.2d at 232.

                Defendants contend that Plaintiffs’ claims of non-disclosure and

   concealment require individual inquiries. Plaintiffs, however, contend that because

   their claims are on behalf of the Plan, there is no need to make individualized

   determinations. Plaintiffs argue that their claims do not turn on whether Defendants

   concealed material information from participants.           Plaintiffs maintain that

   Defendants had fiduciary obligations to properly manage and administer the Plan,

   regardless of what participants were told or not told, and the concealment and non-

   disclosure is further evidence of the breaches. The Court agrees with Plaintiffs.



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   Furthermore, the Seventh Circuit has never expressly held that detrimental reliance

   is an element of an ERISA breach of fiduciary claim. It has stated the elements of

   such a claim are: (1) defendants are plan fiduciaries; (2) defendants breached their

   fiduciary duty; and (3) the breach caused harm to the plaintiff. See Brosted v.

   Unum Life Ins. Co. of Am., 421 F.3d 459, 465 (7th Cir. 2005). Courts deciding

   similar questions regarding omissions and misrepresentations under ERISA section

   502(a)(2) claims have concluded that if alleged misrepresentations were made to

   class members in general, on a plan-wide basis (rather individually or personally),

   then typicality is present and class certification is appropriate. See Brieger v.

   Tellabs, Inc., 245 F.R.D. 345, 353 (N.D. Ill. 2007); Nauman v. Abbott Labs.,

   2007 WL 1052478, at *2-3 (N.D. Ill. April 3, 2007); Rogers v. Baxter, 2006 WL

   794734, at *4 (N.D. Ill. March 22, 2006). Thus, what Plaintiffs knew, and when,

   regarding the allegations of non-disclosure and concealment, does not defeat

   typicality.

          Adequacy of Representatives

                 The class representatives must “fairly and adequately protect the

   interests of the class.” Fed.R.Civ.P. 23(a). This inquiry “serves to uncover conflicts

   of interest between named parties and the class they seek to represent.” Amchem

   Prods v. Windsor, 521 U.S. 591, 625 (1997)(citation omitted). In order to satisfy

   the requirements of Rule 23(a)(4), the class representative must “possess the same

   interest and suffer the same injury as the class members.” Uhl v. Thoroughbred


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   Tech. & Telecomms., Inc., 309 F.3d 978, 985 (7th Cir. 2002). Courts do not

   deny class certification on speculative or hypothetical conflicts. See Rosario, 963

   F.2d at 1018-19.

                Defendants counter that Plaintiffs’ new claims and theories create

   insurmountable conflicts that render Plaintiffs inadequate. Specifically, Defendants

   argue that while the three named Plaintiffs want the elimination of the Boeing Stock

   Fund and all actively managed funds, thousand of Plan participants have elected to

   invest in these funds over the years. Therefore, Defendants maintain that these

   named Plaintiffs cannot represent a class that includes that many participants who

   reject what they want to do. The Court does not agree. Each Plaintiffs’ causes of

   action involves Defendants’ breaches of their core fiduciary duties. All have been

   injured as a result of Defendants’ practices and will continue to be injured as long

   as their retirement savings remain in the Plan. The named Plaintiffs seek relief that

   would affect the Plan as a whole, and because any monetary relief would go to the

   Plan, the interests of the named Plaintiffs are aligned with those of the unnamed

   class members. As Judge Reagan stated in Lively: “no individual member of the

   proposed class has an incentive to maximize his or her individual recovery because

   the recovery in this case is on behalf of the Plan and is the same with respect to each

   Plaintiff and unnamed class member, that is, all of the loss to the Plan caused by the

   alleged fiduciary duties.” Lively, 2007 WL 685861, at * 13. As stated previously,

   the focus is on Defendants’ conduct in this case, not on Plaintiffs’ conduct. There is



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   no inherent conflict between the claims of the named Plaintiffs and those of the

   putative class.

                Further, the Court is unpersuaded that adequacy is defeated because

   Plaintiffs are subject to a unique defense – that fees were immaterial to these

   remaining named Plaintiffs. Plaintiffs’ review or understanding of the Defendants’

   fee matrix has no bearing whatsoever on whether Defendants complied with their

   fiduciary duties.   See Lively, 2007 WL 685861, at *8 & 10-11. The Court

   concludes that Plaintiffs have no conflicts of interest with the members of the

   proposed class that prevent them from serving as adequate class representatives.

   Thus, all of the requirements of Rule 23(a) are satisfied.

         Rule 23(b) Requirements

                After fulfilling the requirements of Rule 23(a), plaintiffs must also meet

   one of the subsections of Rule 23(b). Plaintiffs contend that they can meet the

   requirements of Rule 23(b)(1) or alternatively meet the requirements of both Rule

   23(b)(2) and (b)(3). Rule 23(b)(1) allows for certification of the class if:

         T]he prosecution of separate actions by or against individual members
         of the class would create a risk of (A) inconsistent or varying
         adjudications with respect to individual members of the class which
         would establish incompatible standards of conduct for the party
         opposing the class, or (B) adjudications with respect to individual
         members of the class which would as a practical matter be dispositive
         of the interests of the other members not parties to the adjudications
         or substantially impair or impede their ability to protect their interests.

   Fed.R.Civ.P. 23(b)(1). Though the Supreme Court has cautioned that Rule 23(b)(1)

   should be “narrowly interpreted,” it also advised that “[a]mong the traditional


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   varieties of representative suit encompassed by Rule 23(b)(1)(B) were those involving

   the ‘presence of property which called for distribution or management.’ ” Ortiz v.

   Fibreboard Corp., 527 U.S. 815, 833 (1999) (citations omitted).

                  Plaintiffs bring their claims on behalf of the Plan as a whole to recover

   benefits owed under the Plan. Any recovery of lost benefits will go to the Plan and will

   be held, allocated, and ultimately distributed in accordance with the requirements

   of the Plan and ERISA. See In re Schering-Plough Corp. ERISA Litig., 420 F.3d

   231, 235 (3rd Cir. 2005) (plan participants' claims are on behalf of the plan to

   recover Plan's losses due to breach of fiduciary duty); Kuper v. Iovenko, 66 F.3d

   1447, 1452-53 (6th Cir. 1995) (explaining that “breaches of fiduciary duty

   injure the plan and, therefore, any recovery should go to the plan”). Because

   Plaintiffs bring their claims on behalf of the Plan, adjudications of the representative

   Plaintiffs' suit would, as a practical matter, be dispositive of the interests of the other

   participants claims on behalf of the Plan.             Further, adjudication of the claims

   involves the recovery and distribution of Plan assets on behalf of the Plan rather than

   determination of personal causes of action brought by individuals. As a result,

   separate actions by individual plaintiffs would impair the ability of other participants

   to protect their interests if the suit proceeded outside of a class context. Plaintiffs

   therefore meet the requirements of Rule 23(b)(1).2




          2
           Because the Court finds that certification is proper under Rule 23(b)(1), the Court need
   not consider Plainitffs’ alternative request for certification under Rule 23(b)(2) and (b)(3).

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         Adequacy of Counsel

                Having determined that class certification is appropriate, the Court

   addresses the issue of adequacy of the proposed class counsel. Rule 23 provides,

   in part, “Unless a statute provides otherwise, a court that certifies a class must

   appoint class counsel.” Fed.R.Civ.P. 23(g)(1)(A). The rule provides further that

   “[a]n attorney appointed to serve as class counsel must fairly and adequately

   represent the interests of the class.”    Fed.R.Civ.P. 23(g)(1)(B).     In evaluating

   proposed class counsel, a court must consider: the work counsel has done in

   identifying or investigating potential claims in the action; counsel’s experience in

   handling class actions, other complex litigation, and claims of the type asserted in

   the action; counsel’s knowledge of the applicable law; and the resources counsel will

   commit to representing the class. See Fed.R.Civ.P. 23(g)(1)(C)(i). Also, the court

   may consider “any other matter pertinent to counsel’s ability to fairly and adequately

   represent the interests of the class.” Fed.R.Civ.P. 23(g)(1)(C)(ii). The court “may

   direct potential class counsel to provide information on any subject pertinent to the

   appointment and to propose terms for attorney fees and nontaxable costs” and “may

   make further orders in connection with the appointment.”                Fed.R.Civ.P.

   23(g)(1)(C)(iii)-(iv).

                Here, Defendants do not dispute that class counsel is adequate. The

   Court has reviewed the qualifications submitted by proposed class counsel. Further,

   the Court is very familiar with the law firm of Schlichter, Bogard & Denton and the



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   high caliber work that they perform. The Court finds that the law firm of Schlichter

   Bogard & Denton are highly qualified to proceed as class counsel.

                                     V. Conclusion

                Accordingly, the Court GRANTS Plaintiffs’ motion for class certification

   (Doc. 24). The class is defined as follows:

         All persons, excluding the Defendants and/or other individuals who
         are or may be liable for the conduct described in this Complaint, who
         are or were participants or beneficiaries of the Plan and who are, were
         or may have been affected by the conduct set forth in this Complaint, as
         well as those who will become participants or beneficiaries of the Plan
         in the future.


   The Court APPOINTS Plaintiffs Gary Spano, John Bunk, and James White, Jr., as

   representatives of the class.    Further, the Court APPOINTS the law firm of

   Schlichter, Bogard & Denton as class counsel. Lastly, the Court DENIES as moot

   Defendants’ motion for oral argument on Plaintiffs’ motion for class certification

   (Doc. 70).



                IT IS SO ORDERED.

                Signed this 26th day of September, 2008.



                                                       /s/   DavidRHer|do|
                                                       Chief Judge
                                                       United States District Court




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